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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  TIMOTHY SIMMS,                                  )
                                                  )
                 Plaintiff/Judgment Creditor,     )
                                                  )
  vs.                                             ) Case No. 4:23-cv-00813-HEA
                                                  )
  12FIFTEEN DIAMONDS, LLC D/B/A                   )
  DIAMOND NEXUS                                   )
                                                  )
                 Defendant/Judgment Debtor.
                                                  )
                                                  )
                                                  )

             GARNISHEE FOREVER COMPANIES, INC.’S MOTION TO QUASH

        COMES NOW Garnishee Lautrec Corporation a/k/a Forever Companies, Inc. (“Forever”), by

its attorneys, Stanton Barton LLC, and hereby moves this Court, for an Order pursuant to Fed. R. Civ.

P. 69 and Missouri Supreme Court Rule 90.18 granting its Motion to Quash the Summons to Garnishee,

Writ of Execution, and Interrogatories to Garnishee (collectively, the “Garnishment”) issued by

Plaintiff and Judgment Creditor Timothy Simms (“Judgment Creditor”) to Forever as Garnishee.

Forever incorporates herein by reference as if set forth fully herein its Memorandum in Support of

Garnishee’s Motion to Quash and Declaration of Lindsey Saletta.

        WHEREFORE, Garnishee Lautrec Corporation a/k/a Forever Companies, Inc. respectfully

requests that the Court quash the summons to garnishee, writ of execution, and interrogatories directed

to Forever and for such other and further relief as this Court deems just.




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                                                      Respectfully submitted,

                                                      STANTON | BARTON LLC

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                                            AND:


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                                                     Attorneys for Garnishee, Lautrec Corporation
                                                     a/k/a Forever Companies, Inc.


                                     CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on this 30th day of July, 2024, the foregoing was filed

electronically with the Clerk of the Court to be served by operation of the Court’s electronic filing

system upon all counsel of record.

                                                            BY: /s/ Jonathan T. Barton




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